                 Case 2:21-cr-00191-DAD Document 36 Filed 04/13/22 Page 1 of 4

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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:21-CR-0191-JAM
11
                                   Plaintiff,            STIPULATION AND JOINT REQUEST FOR
12                                                       PROTECTIVE ORDER; PROTECTIVE ORDER
                             v.
13
     LIONEL CHAVEZ,
14
                                  Defendant.
15

16

17                                              I.   STIPULATION
18          1.       Plaintiff United States of America, by and through its counsel of record, and defendant

19 Lionel Chavez, by and through his counsel of record (“Defendant” and “Defense Counsel”), for the

20 reasons set forth below, hereby stipulate, agree, and jointly request that the Court enter a Protective
21 Order in this case restricting the use and dissemination of certain materials that could identify

22 undercover agents and/or confidential sources, and/or that contain personal identifying information

23 (“PII”) and other confidential information of real persons.

24          2.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
25 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

26          3.       On October 7, 2021, the Grand Jury returned an indictment charging Defendant with

27 conspiracy to distribute and to possess with intent to distribute heroin, in violation of 21 U.S.C. §§ 846,

28 841(a)(1) (Count One), and distribution of heroin, in violation of 21 U.S.C. § 841(a)(1) (Count Two).


      STIPULATION AND PROTECTIVE ORDER                   1
                 Case 2:21-cr-00191-DAD Document 36 Filed 04/13/22 Page 2 of 4

 1          4.       As part of its investigation in the above-captioned case, the government is in the

 2 possession of documents and other materials relating to the charges against the Defendant, and seeks to

 3 provide those materials to counsel for the Defendant. The government seeks to do so pursuant to its

 4 discovery obligations, although some of the materials may exceed the scope of the government’s

 5 discovery obligations and will be produced to promote a prompt and just resolution of the case.

 6          5.       The government intends to produce to Defense Counsel: (1) audio recordings, video

 7 recordings, photographs, investigative reports and/or other documents that could identify law

 8 enforcement undercover agents and/or confidential sources; and (2) materials containing PII and other

 9 confidential information of real persons. These real persons are third parties, co-defendants, and/or

10 witnesses to this case. This discovery will be considered “Protected Material” as described in this

11 stipulation and order, as will any other discovery marked as Protected Material.

12          6.       The purpose of this stipulation and order is to establish the procedures that must be

13 followed by Defense Counsel, any designated employees, and any other individual who receives access

14 to any Protected Material in this case and the information therein.

15          7.       The Government shall produce the aforementioned Protected Material to Defense

16 Counsel, designating the discovery with the bates prefix, “NAVARRO_PM_.” This discovery, and any

17 subsequent material discovered by the Government to Defense Counsel using the bates-prefix, shall be

18 considered Protected Material.

19          8.       All Protected Material in this case is now and will forever remain the property of the

20 Government. It is entrusted to Defense Counsel only for purposes of representing his/her Defendant
21 during the pendency of this case.

22          9.       Defense Counsel shall not give any Protected Material to any person other than Defense

23 Counsel’s staff assisting in preparation of the present case. The term “staff” shall explicitly include only

24 attorneys, paralegals, legal assistants, retained experts, and investigators assisting Defense Counsel in

25 the present matter. The term excludes any other defendant in this matter or any other pending matter

26 against the Defendant; any person involved in any case in which discovery concerning the Defendant is

27 produced; and any other person other than those specifically authorized to see Protected Material under

28 this paragraph.


      STIPULATION AND PROTECTIVE ORDER                    2
               Case 2:21-cr-00191-DAD Document 36 Filed 04/13/22 Page 3 of 4

 1          10.     Any person receiving access to the Protected Material from Defense Counsel shall be

 2 bound by the same obligations as Defense Counsel and, further, may not give any Protected Material to

 3 anyone.

 4          11.     No members of the Defendant’s family, friends of the Defendant, personal or

 5 professional associates of the Defendant, or any other person affiliated with the Defendant shall be given

 6 access to any Protected Material or its contents in any manner, for any reason.

 7          12.     Defense Counsel may make copies of Protected Material and may take written or typed

 8 notes summarizing it in connection with preparation of the case. If necessary to the litigation of the

 9 instant matter, Defense Counsel may also have audio or video forms of Protected Material transcribed.

10 All notes, copies, duplicates, summaries, transcripts, or other representations of or concerning the

11 information in the Protected Material comprises “Protected Material” itself, must be affixed with the

12 corresponding bates numbers and the “Protected Material” ledger, and is subject to all terms of this

13 stipulation and order.

14          13.     Defense Counsel shall maintain a list of persons to whom any Protected Material is being

15 or has been given. Such persons shall be provided with a copy of the executed version of this stipulation

16 and order, shall sign their full names to a copy, and shall in writing acknowledge that they understand its

17 terms and are bound by it. If Defense Counsel is replaced for any reason, or if new counsel is appointed

18 in any phase of the matter, the new counsel shall not have access to any Protected Material until and

19 unless they sign a copy of this stipulation and order, under the terms described in this paragraph.

20          14.     Defense Counsel may use the Protected Material in the defense of Defendant in the

21 instant case in any manner deemed essential to adequately represent him (i.e., in motions that are filed

22 under seal, if necessary; in ex-parte applications as may be needed; and in reproducing and summarizing

23 Protected Material for use in trial preparation summaries, exhibits and as evidence, as may be needed),

24 consistent with this stipulation and order as it shall be originally prepared and signed.

25          15.     In the event Defense Counsel needs to use any Protected Material in a manner not

26 authorized under this stipulation and order, Defense Counsel is entitled to seek to have this stipulation

27 and order amended by the District Court, after having given notice to counsel for the Government, in a

28


      STIPULATION AND PROTECTIVE ORDER                   3
               Case 2:21-cr-00191-DAD Document 36 Filed 04/13/22 Page 4 of 4

 1 hearing before the District Court, in order to meet the obligations under the Sixth Amendment to the

 2 United States Constitution.

 3          16.     Defense Counsel and any authorized members of Defense Counsel’s staff are authorized

 4 to review with Defendant the contents of the Protected Material. Defense Counsel and authorized

 5 members of his/her staff, however, are prohibited from in any way giving Defendant any Protected

 6 Material or any memorialization of the content of any of it, such as: any of the Protected Material itself;

 7 copies of any of the Protected Material; copies of excerpts of any of the Protected Material; or

 8 summaries of any of the Protected Material. This prohibition will not extend to the Defendant viewing

 9 the Protected Material in open court should any of these materials or summaries thereof be used in the

10 litigation of this case.

11                                                           Respectfully Submitted,

12    Dated: April 13, 2022                                  PHILLIP A. TALBERT
                                                             United States Attorney
13

14                                                    By: /s/ DAVID W. SPENCER
                                                          DAVID W. SPENCER
15                                                        Assistant United States Attorney
16

17    Dated: April 13, 2022                                  /s/ CLEMENTE JIMENEZ
                                                             CLEMENTE JIMENEZ
18                                                           Counsel for Defendant
                                                             Lionel Chavez
19

20
21                                         FINDINGS AND ORDER

22          The Court having read and considered the Stipulation and Joint Request for a Protective Order,

23 which this Court incorporates by reference into this Order in full, hereby finds that GOOD CAUSE

24 exists to enter the above Order.

25          IT IS SO FOUND AND ORDERED.

26          Dated: April 13, 2022

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      STIPULATION AND PROTECTIVE ORDER                   4
